Case 8:22-cv-01250-TPB-AAS Document 27 Filed 09/04/22 Page 1 of 3 PageID 141




                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

MICHAEL T. FLYNN,

        Plaintiff,

v.                                                        Case No.:     8:22-cv-01250

EVERETT STERN,

        Defendant.
                                           /

      DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS AND
             CORPORATE DISCLOSURE STATEMENT

        Defendant, EVERETT STERN, pursuant to Fed. R. Civ. P. 7.1(a) files the

following certificate of interested persons and corporate disclosure statement:

     1. The name of each person, attorney, associated persons, firms, partnerships, or

        corporations that have an interest in the outcome of this case, including

        subsidiaries, conglomerates, affiliates, parent corporations, and other

        identifiable legal entities related to any party in the case:

           Dorothy V. DiFiore, Esq., Counsel for Defendant
           Quintairos, Prieto, Wood & Boyer, P.A., Counsel for Defendant
           Everett Stern, Defendant
           Homesite Insurance Company, Liability Insurance Co. for Defendant


     2. The name of every other entity whose publicly-traded stock, equity or debt

        may be substantially affected by the outcome of the proceedings:

                            QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
Case 8:22-cv-01250-TPB-AAS Document 27 Filed 09/04/22 Page 2 of 3 PageID 142




        None Known

  3. The name of every other entity which is likely to be an active participant in

     the proceedings, including the debtor and members of the creditors’

     committee (or twenty largest unsecured creditors)

         None known.

  4. The name of each victim (individual or corporate) of civil and criminal

     conduct alleged to be wrongful, including every person who may be entitled

     to restitution:

        None known.




       [ CERTIFICATE OF SERVICE ON THE FOLLOWING PAGE ]




                                       2
Case 8:22-cv-01250-TPB-AAS Document 27 Filed 09/04/22 Page 3 of 3 PageID 143




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I filed the foregoing Appearance as Counsel with

the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to: Counsel for Plaintiff, Jared J. Roberts, Esq. and Jason C.

Greaves, Esq., at jared@binnall.com, jason@binnall.com, Binnall Law Group,

PLLC, 717 King Street, Suite 200, Alexandria, VA 22314; on September 4, 2022.


                              /s/ Dorothy V. DiFiore
                              Dorothy Venable DiFiore, Esq., FBN: 0962139
                              QUINTAIROS, PRIETO, WOOD & BOYER, P.A.
                              dorothy.difiore@qpwblaw.com primary
                              Ronald.Cochran-lafleur@qpwblaw.com secondary
                              ddifiore.pleadings@qpwblaw.com secondary
                              1410 North Westshore Blvd., Suite 200
                              Tampa, FL 33607
                              Telephone: 813-286-8818
                              Facsimile: 813-286-9998
                              Counsel for Defendant




                                       3
